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MICHAEL K. KROUSE
Assistant United States Attorne

Before: HONORABLE PAUL E. DAVISON
United States Magistrate Judge
Southern District of New York

 

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COMPLAINT
UNITED STATES OF AMERICA
. Violations of
- V. - : 26 U.S.C. §§ 5822,
. 5861(f) & 5871; 18 U.S.C.
PAUL M. ROSENFELD, : §§ 844(d), 844(€)
Defendant. : COUNTY OF OFFENSE:
ROCKLAND

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SOUTHERN DISTRICT OF NEW YORK, SS..

JONATHAN'R. WELSH, being duly sworn, deposes and says
that he is a Special Agent with the Federal Bureau of
Investigation (“FBI”), and charges as follows:

COUNT ONE
(Unlawful Manufacture of a Destructiwe Device)

l. From at least in or about August 2018 up to and
including in or about October 2018, in the Southern District of
New York and elsewhere, PAUL M. ROSENFELD, the defendant,
knowingly did make firearms, and did aid and abet the making of
firearms, as defined in Title 26, United States Code, Sections
5845(a)(8) and 5845(£)(1), to wit, ROSENFELD manufactured a
destructive device using, among other things, explosive powder
at his residence in Tappan, New York.

(Title 26, United States Code, Sections 5822, 5861(£), and 5871)
COUNT TWO
(Interstate Transportation and Receipt of an Explosive)

2. From at least in or about August 2018 up to and
including in or about October 2018, in the Southern District of

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New York and elsewhere, PAUL M. ROSENFELD, the defendant, did
knowingly transport and receive, and attempt to transport and
receive, in interstate and foreign commerce, an explosive with
the knowledge and intent that it would be used to kill, injure,
and intimidate any individual and unlawfully to damage and
'destroy real property, to wit, ROSENFELD received explosive
powder in the maili which he used to construct an explosive
device that he intended to detonate in a public space in
Washington, D.C.

(Title 18, United States Code, Section 844(d).)

The bases for my knowledge and for the foregoing
charge are, in part, as follows:

3. I am a Special Agent with the FBI, and I have
been involved in the investigation of the above-described
offense. The information contained in this Complaint is based
upon my personal knowledge and participation in this
investigation, as well as on my conversations with other law
enforcement agents and my examination of reports and records.
Because this affidavit is being submitted for the limited
purpose of establishing probable cause, it does not include all
the facts I have learned during the course of my investigation.
Where the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported
in substance and in part, except where otherwise indicated.
Where figures, calculations, and dates are set forth hereinr
they are approximate, unless stated otherwise.

4. Based on my participation in this investigation,
including my conversations with other law enforcement agents and
my review of reports and records, I have learned the following,
in substance and in part:

a. Between in or about August 2018 and in or
about September 2018, an individual located in Pennsylvania
(“Individual-l”) received letters from a person whom Individual-

1 did not know, but whom the FBI has since identified as PAUL M.
ROSENFELD, the defendant, see infra “M 5, 7, and text messages
from an unknown cellular phone number (“Phone-l”), which the FBI
has since identified as belonging to ROSENFELD, see infra ““ 5,
7.

b. ROSENFELD's letters and text messages
stated, in substance and in part, that he intended to: (1) build
an explosive device; (2) transport the explosive device to

 

Washington D.C.; and (3) detonate this explosive device on
November 6, 2018, on the National Mall in Washington, D.C.
Individual-l provided these letters and text messages to the
FBI.

5. Based on my review of records kept by the service
provider for Phone-l, I have learned, among other things, that
Phone-l is subscribed under the name “Paul Rosenfeld.” I have

also learned that the subscriber address for Phone-l corresponds
to a home in Tappan, New York, where PAUL M. ROSENFELD, the
defendant, resides (the “Residence”).

6. On or about October 9, 2018, a Rockland County
Supreme Court Judge authorized a search warrant (the “Warrant”)
for the Residence.

7. On or about October 9, 2018, law enforcement
agents stopped a car driven by PAUL M. ROSENFELD, the defendant.
ROSENFELD agreed to answer questions, and the law enforcement
agents transported ROSENFELD to a local police station. I and
other law enforcement agents interviewed ROSENFELD at the
station. After waiving his Miranda rights, ROSENFELD stated, in
substance and in part, that:

a. He owned a “burner phone" that he used to
send text messages to Individual~l;

b. He ordered large quantities of “black
powder” over the Internet, which was delivered to a location in
New Jersey;

c. He transported the black powder from New
Jersey to the Residence in Tappan, New York;

d. He constructed smaller explosive devices and
had conducted test detonations;

e. He used approximately eight pounds of black
powder to construct a larger explosive device in the Residence's
basement;

f. He installed certain components in the
explosive device to ensure that he was killed in the blast;

g. He intended to transport the explosive
device to Washington, D.C.;

 

h. He intended to detonate the explosive device
on November 6, 2018 on the National Mall in Washington, D.C.;

i. His intended purpose for detonating the
explosive device was to draw attention to his political belief
in “sortition”l; and

j. He acted alone.

8. Based on my participation in this investigation,
including my conversations with other law enforcement agents and
my review of reports and records, I have learned the following,
in substance and in part:

a. Black powder is an explosive substance that
can be used as a propellant in firearms, artillery, and rockets.

b. “Sortition” is a political theory that
advocates the random selection of government officials.

9. On or about October 9, 2018, law enforcement
agents searched the Residence pursuant to the Warrant. Based on
my conversations with the law enforcement agents who executed
the search, I have learned the followingr in substance and in
part:

a. Inside the basement of the Residence, law
enforcement agents observed what appeared to be a functional
explosive device weighing approximately 200 pounds (the
“Explosive Device”). The Explosive Device is a plywood box that
contained what appeared to the agentsr based on their training
and experience, to be black powder.

b. Based on my conversations with FBI
explosives experts who have X-rayed the Explosive Device, I have
learned, in substance and in part, that engaging the firingl
switch on the Explosive Device would generate an electrical
charge, which would in turn spark an “e-match” inside the
Explosive Device, thereby igniting the black powder.

_ c. During the search of the Residence, law
enforcement agents also observed what appeared to be multiple
empty canisters of black powder.

 

1 ROSENFELD had also expressed support for “sortition” in
his communications with Individual-l.

 

10. On or about October 10, 2018, FBI bomb
technicians removed the Explosive Device from the basement of
the Residence and transported it to a safe location in Rockland
County. That same day, law enforcement agents recovered, among
other things, a fusing system from the Residence, which was
consistent with what PAUL M. ROSENFELD, the defendant, described
in his post-Miranda statement.

11.' Based on law enforcement agents’ review of the
Bureau of Alcohol, Tobacco, and Firearms’ Federal Licensing
System, I have learned that PAUL M. ROSENFELD, the defendant, is
not licensed to possess or manufacture firearms or explosives.

WHEREFORE, I respectfully request that a warrant be
issued for the arrest of PAUL M. ROSENFELD, the defendant, and
that he be arrested and imprisoned or bailed, as the case may

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JonatF n R. Welsh
Speci l Agent
Federal Bureau of Investigation

Sworn to before me this
October 10, 2018

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TEE“HSNORABLE PAUL E. DAVISON
UNITED sTATEs MAGISTRATE JUDGE
sOUTHERN DISTRICT oF NEW YORK

 

 

